Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 1 of 16      PageID #: 170



                     UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE


 BRETT BABER, et al.,                     )
                                          )
                         PLAINTIFFS       )
                                          )
 V.                                       )     CIVIL NO. 1:18-CV-465-LEW
                                          )
 MATTHEW DUNLAP,                          )
                                          )
                         DEFENDANT        )



                   ORDER ON PLAINTIFFS’ MOTION FOR
                    TEMPORARY RESTRAINING ORDER


      On November 6, 2018, the State of Maine conducted an election and

presented voters with a ballot that asked them to rank their choices for who

should be the people’s representative for Maine’s Second Congressional District.

The congressional election was subject to Maine’s Ranked-Choice Voting Act, 21

M.R.S. § 723-A. Defendant Secretary of State Matthew Dunlap is invested with

the duty to “tabulate the election returns and submit the tabulation to the

Governor” no later than 20 days following the election. 21-A M.R.S. § 722.

      On November 13, after Defendant Dunlap announced that no contestant

had received enough votes to achieve an outright majority victory in Second

Congressional District election, and that the ballot counting process would

continue as outlined in section 723-A, Plaintiffs, Representative Bruce Poliquin,
Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 2 of 16                 PageID #: 171



et al., 1 filed this civil action. In their complaint, Plaintiffs maintain that Maine’s

experiment in ranked-choice voting violates Article I, section 2 of the United

States Constitution, and deprives Plaintiffs of rights secured to them under the

Due Process Clause and the Equal Protection Clause of the Fourteenth

Amendment, the First Amendment, as applied to the State of Maine through

incorporation in the Fourteenth Amendment, and the Voting Rights Act.

(Complaint, passim.) They request the Court declare that their rights have been

violated, and they further request injunctive relief that, in effect, requires

Defendant to certify Representative Poliquin to be the winner of the election. (Id.

at 24 – 25, prayer for relief.)

         On November 14, 2018, the Court conducted a hearing on Plaintiffs’

request for a temporary restraining order (TRO). The Court heard argument from

Plaintiffs, Defendant, and Intervenors Tiffany Bond, et al. 2 Plaintiffs argue they

are entitled to an order enjoining Defendant from finalizing the ballot count

under Maine’s ranked-choice scheme, such that no final tabulation of votes will

occur until this Court is able to rule on Plaintiffs’ motion for preliminary

injunction or the merits of Plaintiffs’ action.

         For reasons that follow, Plaintiffs’ request for TRO is denied. The case will

proceed in the normal course.

                                                I

         This is not the first time a challenge has been raised concerning the


1Representative Poliquin is joined in this action by Plaintiffs Brett Baber, Terry Hamm-Morris,
and May Hartt.

2   Ms. Bond is a contestant in the election.
                                                2
Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 3 of 16      PageID #: 172



constitutionality of Maine’s Ranked-Choice Voting Act (“RCV Act”) when used for

the selection of Maine’s congressional representatives. Due to the emergency

nature of the pending motion, the following background statement is borrowed

from this Court’s prior order in the matter of Maine Republican Party v. Dunlap,

No. 1:18-cv-179 (Levy, J., presiding).

   [Prior to passage of the RCV Act], Maine law required a single-choice
   voting system in primary and general elections, in which voters voted for
   a single candidate, and the candidate with the most votes (but not
   necessarily a majority of votes) won. See Opinion of the Justices, 162 A.3d
   188, 197 (Me. 2017). That system is referred to by the parties as a
   “plurality” system.


   The RCV Act defines ranked-choice voting as “the method of casting and
   tabulating votes in which voters rank candidates in order of preference,
   tabulation proceeds in sequential rounds in which last-place candidates
   are defeated and the candidate with the most votes in the final round is
   elected.” 21-A M.R.S.A. § 1(35-A)). Under ranked-choice voting, the first
   round proceeds much in the same way it did under the plurality system:
   Each voter’s first choice vote is counted, and if any candidate captures
   an outright majority of the first choice votes that candidate wins. But, if
   no candidate captures a majority of the first choice votes, there is an
   instant run-off. The candidate with the fewest first choice votes is
   eliminated [and potentially all candidates for whom it is “mathematically
   impossible to be elected” are also eliminated at the same time], and all of
   the ballots that listed him or her [or them] as the first choice candidate
   are counted for their second choice candidate. The process repeats and
   eliminates more [non-viable] candidates until one candidate receives a
   majority [or plurality] of the votes [counted through the RCV
   process]. [21-A M.R.S. § 723-A(2).]
   …
                                         3
Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 4 of 16            PageID #: 173



    Following the adoption of the RCV Act by public referendum in 2016,
    there were legislative efforts to repeal or delay its implementation.2 The
    RCV Act’s complex post-adoption legislative and judicial history is
    chronicled in two opinions of the Maine Supreme Judicial Court related
    to it: Opinion of the Justices, 162 A.3d 188 (Me. 2017) and Maine Senate
    v. Secretary of State, 183 A.3d 749 (Me. 2018). And, as the Court
    explained in Maine Senate: “The history of ranked-choice voting in Maine
    to date could provide the substance of an entire civics course on the
    creation of statutory law in the State of Maine.” Maine Senate, 183 A.3d
    at 751.


    In Opinion of the Justices, the Supreme Judicial Court determined that
    portions of the RCV Act violate several provisions of the Maine
    Constitution (Art. IV, pt. 1, § 5, Art. IV, pt. 2, § 4, and Art. V, pt. 1, § 3),
    which, the Court opined, [expressly] require plurality voting in general
    elections for Maine’s State Senators and Representatives, and for Maine’s
    Governor. See 162 A.3d at 209-11.

Maine Republican Party v. Dunlap, 324 F. Supp. 3d 202, 204–06 (D. Me. 2018)

(footnote omitted).

      While Plaintiff Bruce Poliquin stands in a position unlike that of his co-

Plaintiffs, each of the Plaintiffs is similar in that he or she indicated on the ballot

that Bruce Poliquin is his or her first round choice in the RCV contest. Each

Plaintiff also opted not to rank any other candidate. (Complaint ¶¶ 7 – 10.)

      Upon the calculation of the first round votes, the results (unofficial) appear

to be as follows:

              Bruce Poliquin     130,916 votes        (46.3%)
              Jared Golden       128,915 votes        (45.6%)
              Tiffany Bond        16,088 votes        (5.7%)
              William Hoar         6,717 votes        (2.4%)
                                           4
Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 5 of 16         PageID #: 174



(Complaint ¶ 37.)

      Given these results, application of the RCV system could result in a victory

by either Representative Poliquin or Mr. Golden. That victory, if certified, could

be based on either a majority or a plurality of the total votes casts. Neither

Plaintiffs nor Defendant has suggested that the outcome of the RCV election is

known at this time.

                                         II

      “[Injunctive relief]is an extraordinary and drastic remedy that is never

awarded as of right.” Peoples Fed. Sav. Bank v. People’s United Bank, 672 F.3d

1, 8-9 (1st Cir. 2012). To determine whether to issue a temporary restraining

order, the Court applies the same four-factor analysis used to evaluate a motion

for preliminary injunction. Monga v. Nat’l Endowment for Arts, 323 F. Supp. 3d

75, 82 (D. Me. 2018). Those factors are:

   (1) the likelihood of success on the merits; (2) the potential for irreparable
   harm [to the movant]; (3) the balance of the relevant impositions, i.e., the
   hardship to the nonmovant if enjoined as contrasted with the hardship
   to the movant if no injunction issues; and (4) the effect (if any) of the
   court's ruling on the public interest.

Esso Standard Oil Co. v. Monroig-Zayas, 445 F.3d 13, 17-18 (1st Cir.

2006) (quoting Bl(a)ck Tea Soc’y v. City of Boston, 378 F.3d 8, 11 (1st Cir. 2004)).

As the party seeking injunctive relief, Plaintiffs bear the burden of establishing

that the factors weigh in their favor. Id. at 18; Monga, 323 F. Supp. 3d at 82.

      It is generally understood that “[t]he sine qua non of this four-part inquiry

is likelihood of success on the merits,” meaning that the Court should not

address the remaining factors if the movant makes a weak showing as to the
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Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 6 of 16         PageID #: 175



likelihood of success on the underlying claim(s). Monga, 323 F. Supp. 3d at 82

(citintg New Comm. Wireless Servs., Inc. v. SprintCom, Inc., 287 F.3d 1, 9 (1st Cir.

2002). In some contexts, however, and perhaps particularly in the context of

elections, other considerations may have equal sway when it comes to

preliminary remedies. Benisek v. Lamone, 138 S. Ct. 1942, 1943–44 (2018) (per

curiam) (“As a matter of equitable discretion, a preliminary injunction does not

follow as a matter of course from a plaintiff’s showing of a likelihood of success

on the merits.”).   In the final analysis, “trial courts have wide discretion in

making judgments regarding the appropriateness of such relief.”           Francisco

Sánchez v. Esso Standard Oil Co., 572 F.3d 1, 14 (1st Cir. 2009)).

                                           III

A.    Likelihood of success on the merits

      1.    U.S. Constitution, Article I

      Plaintiffs’ primary argument is that Maine RCV system violates an

unstated, but in their view implicit, constitutional requirement that all ballots

be counted in a single round and that the candidate with the plurality of votes

is the winner.

      Article I, Section 2, Clause 1 of the Constitution provides, in pertinent part,

as follows: “The House of Representatives shall be composed of Members chosen

every second Year by the People of the several States ….”

      Article I, Section 4, Clause 1, provides: “The Times, Places and Manner of

holding Elections for Senators and Representatives, shall be prescribed in each

State by the Legislature thereof; but the Congress may at any time by Law make

or alter such Regulations, except as to the Places of ch[oo]sing Senators.
                                           6
Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 7 of 16                     PageID #: 176



       Citing precedent of the Second Circuit Court of Appeals, Plaintiffs maintain

that Article I, section 2 “has always been construed to mean that the candidate

receiving the highest number of votes at the general election is elected, although

his vote be only a plurality of all votes cast.” Phillips v. Rockefeller, 435 F.2d 976,

980 (2d Cir. 1970). While it is true that it does not offend the Constitution if a

state permits a candidate for federal office to win by a plurality – the actual

holding of Phillips v. Rockefeller – it does not follow that Article I, section 2

mandates that all state elections be determined based on a plurality (in the

absence of an outright majority). 3

       While I appreciate that there are limits on the means by which States can

conduct elections of representatives to Congress, see, e.g., U.S. Term Limits, Inc.

v. Thornton, 514 U.S. 779 (1995) (invalidating state-imposed term limits as

violative of the Qualifications Clauses stated in Article I, § 3), Plaintiffs have not

demonstrated that it is more likely than not they will succeed in demonstrating

that the United States Constitution prohibits an election process that involves

more than one round of ballot counting, or a process designed to ensure that

everyone who votes has the opportunity to express their support and be counted

with respect to the presumptive frontrunners in the election contest. In fact, it

appears that both majority and plurality standards have historical antecedents

in American politics.        In short, on the current showing, it appears equally



3 In Phillips, the Second Circuit observed that it was significant to the analysis that “New York
has permitted the candidate for United States Senate who receives the highest number of votes,
even if that number be a mere plurality, to be duly elected,” and that, consequently, certification
of the candidate based on a plurality of votes “would be in accord with the mandate of the
Seventeenth Amendment that Senators be ‘elected by the people.’” Phillips v. Rockefeller, 435
F.2d 976, 980 (2d Cir. 1970).
                                                7
Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 8 of 16         PageID #: 177



plausible that Article I, section 2, when read in conjunction with Article I, section

4, affords the States sufficient leeway to experiment with the election process in

the manner that is presently under consideration.

      2.     Fourteenth Amendment

      The Fourteenth Amendment provides:

   No State shall make or enforce any law which shall abridge the privileges
   or immunities of citizens of the United States; nor shall any State deprive
   any person of life, liberty, or property, without due process of law; nor
   deny to any person within its jurisdiction the equal protection of the laws.

U.S. Const. Am. XIV, § 1.

      Citing the Due Process Clause and Ayers-Schaffner v. DiStefano, 37 F.3d

726, 729 (1st Cir. 1994) (collecting authority), Plaintiffs argue that Maine’s RCV

system will deprive them of the chance to cast their votes “effectively” in a fair

election. They further maintain that the only suitable cure is for the Court to

order that the vote count be halted and Defendant Representative Poliquin be

declared the victor in light of his round-one plurality.

      “If the election process itself reaches the point of patent and fundamental

unfairness, a violation of the due process clause may be indicated and relief

under § 1983 therefore in order.” Griffin v. Burns, 570 F.2d 1065, 1077 (1st Cir.

1978). Assuming that all available state process has been exhausted in order to

preserve this claim, see Gonzalez-Cancel v. Partido Nuevo Progresista, 696 F.3d

115, 120 (1st Cir. 2012), Plaintiffs’ position is not without irony. For instance,

if the Court were to sustain Plaintiffs’ claim, and if the Court were to determine,

as Plaintiffs request, that the appropriate remedy is to declare Representative

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Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 9 of 16                     PageID #: 178



Poliquin the winner, there are many who would consider the cure to be worse

than the alleged disease, at least insofar as the professed concern is with the

right of voters to cast effective ballots in a fair election. Intervenor Bond, for

example, maintains that she would not have stood for the election if she had

known prior to the election that the RCV system could be invalidated in this way,

or that the result would be the one proposed by Plaintiffs. Moreover, for this

Court to change the rules of the election, after the votes have been cast, could

well offend due process. See, e.g., Bush v. Palm Beach Cty. Canvassing Bd., 531

U.S. 70, 73 (2000) (per curiam) (granting certiorari to consider whether state

court decision “changed the manner in which the State’s electors [were] to be

selected, in violation of the legislature’s power to designate the manner for

selection under Art. I, § 1, cl. 2, of the United States Constitution,” and

remanding with instruction for the state court to explain the basis for its

decision).

       In short, I am not persuaded on the current showing that the Due Process

Clause will be upheld by an order that halts completion of the RCV tabulation

process. 4

       Citing Bush v. Gore, 531 U.S. 98 (2000), Plaintiffs maintain that the RCV


4 Plaintiffs also advance a number of academic challenges to instant run off models like the one

set out in the RCV Act. (Sworn Expert Report of Jason Sorens, Ph.D., ECF No. 4.) Chiefly, they
content that instant run offs can give rise to a number of hypothetical scenarios in which voters
are forced to make choices or predictions with imperfect information. At oral argument, Plaintiffs
expressed it as a vote made “in the dark.” With respect to the instant election, the Court is not
persuaded that the electorate, with reasonable diligence, could not inform itself as to who among
the candidates was likely to survive the first round of the RCV process. The fact that there could
be another election at which such concerns could be of paramount importance is not a sufficient
basis, in the Court’s view, to grant relief in the form of a TRO. Moreover, assuming Professor
Soren’s report has a bearing on the merits of this case, the Court is not persuaded that his report
supports the request for emergency injunctive relief.

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Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 10 of 16               PageID #: 179



process will deprive them of equal protection under the law. They recite:

    The Fourteenth Amendment’s guarantee of equal protection of the laws
    means that a “State may not, by [] arbitrary and disparate treatment,
    value one person’s vote over that of another.” Bush v. Gore, 531 U.S. 98,
    104-05 (2000) (citing Harper v. Virginia Bd. of Elections, 383 U.S. 663,
    665 (1966)). “The idea that one group can be granted greater voting
    strength than another is hostile to the one man, one vote basis of our
    representative government.” Id. at 107 (quoting Moore v. Ogilvie, 394 U.S.
    814, 819 (1969) (brackets omitted)).

(Motion for Preliminary Injunction at 14.) 5

       Plaintiffs argue they are deprived of equal protection if some voters are

permitted to express a preference for more than one person. However, it appears

that Maine’s RCV system is designed to enable every voter the opportunity to

express a preference, and be counted, with respect to the candidates most likely

to win the election. Plaintiffs, it seems, have expressed their preference fully and

equally on that matter. They have not demonstrated disparate treatment, let

alone a discriminatory intent. The RCV Act, after all, is party-blind.

    A voter complaining about [a nondiscriminatory] law’s effect on him has
    no valid equal-protection claim because, without proof of discriminatory
    intent, a generally applicable law with disparate impact is not
    unconstitutional.     See, e.g., Washington v. Davis, 426 U.S. 229, 248
    (1976).   The Fourteenth Amendment does not regard neutral laws as
    invidious     ones,    even     when     their    burdens      purportedly      fall
    disproportionately on a protected class. A fortiori it does not do so when,
    as here, the classes complaining of disparate impact are not even

5 Plaintiffs incorporate these arguments in their Motion for Temporary Restraining Order.
(Motion for Temporary Restraining Order at 3.) They also have moved the Court to consolidate
proceedings on their two motions. (ECF No. 19.)

                                            10
Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 11 of 16                    PageID #: 180



    protected. [citation omitted]

Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 207 (2008) (Scalia, J.,

concurring in judgment upholding photo identification requirement).

        Once more there is a certain degree of irony because the remedy Plaintiffs

seek could deprive more than 20,000 voters of what they understood to be a right

to be counted with respect to the contest between Representative Poliquin and

Mr. Golden. 6 It is not clear, in my view, that such a result would avoid valuing

one class of voters (those who voted for Poliquin or Golden as their first choice,

without indicating a later preference) over another (those who relied on the RCV

system to vote for Bond or Hoar, while also ranking either Poliquin or Golden).

        At oral argument, Plaintiffs emphasized that the First Amendment entitles

them to express their support for their candidate. 7 They feel that Maine is giving

other voters disproportionate expression. The Supreme Court’s first amendment

jurisprudence teaches that nondiscriminatory regulations that “burden” the

right of individuals to vote must be weighed against the “precise interests put

forward by the State as justifications for the burden imposed by its rule.”

Crawford, 553 U.S. at 190 (quoting Burdick v. Takushi, 504 U.S. 428, 434


6  In this particular contest, Defendant has suggested it is likely there will be a “batch
elimination,” in which process both Ms. Bond’s votes and Mr. Hoar’s votes will be reviewed to
determine whether they disclose a voter preference with regard to either Plaintiff Poliquin or Mr.
Golden. In other words, persons who voted for Ms. Bond will not be excluded from consideration
in the Poliquin–Golden contest, which treatment would be unequal vis-à-vis those voters who
ranked Mr. Hoar as their first choice. Indeed, it does not appear possible for any candidate to
win the RCV election without considering the ballots cast by Ms. Bond’s supporters. Thus, every
voter will have received the opportunity to vote for Mr. Golden or Representative Poliquin.

7 This first amendment challenge informs the fourteenth amendment analysis because the rights
conferred by the First Amendment are incorporated into the substantive protections guaranteed
to citizens under the Fourteenth Amendment. Vote Choice, Inc. v. DiStefano, 4 F.3d 26, 31 (1st
Cir. 1993) (citing N.Y. Times Co. v. Sullivan, 376 U.S. 254, 276 – 77 (1964)).
(continued next page)
                                               11
Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 12 of 16                     PageID #: 181



(1992)). That interest must be “sufficiently weighty to justify” whatever burden

befalls Plaintiffs. Id. (quoting Norman v. Reed, 502 U.S. 279, 288 – 89 (1992)).

Here, there is no dispute that the RCV Act, the product of a citizens’ initiative,

was motivated by a desire to enable third-party and non-party candidates to

participate in the political process, and to enable voters to express support for

such candidates, without producing the spoiler effect. In this way, the RCV Act

actually encourages First Amendment expression, 8 without discriminating

against any given voter. Because there is no dispute as to the existence of a

legitimate justification for the ranked-choice alternative, 9 and because the

burden placed on Plaintiffs’ right to vote is modest, if it exists at all, I am not

persuaded that Plaintiffs have demonstrated a likelihood of success on the merits

of their first amendment challenge.

        3.      Voting Rights Act

        Assuming the Voting Rights Act, 52 U.S.C. §§ 10301 et seq., has any

application whatsoever in this case, 10 at this stage of the proceedings, for the



8Once more there is a certain degree of irony in Plaintiffs’ position because the remedy Plaintiffs
seek could deprive more than 20,000 voters of what they understood to be a right to be counted
with respect to the contest between Representative Poliquin and Mr. Golden.

9 In his report, Professor Soren acknowledges the existence of “plausible policy rationales for
ranked-choice voting, such as reducing the ‘spoiler’ problem in plurality elections and giving
candidates an incentive to reach out beyond their own electoral base.” (Soren Report and 9.)
While he maintains that Maine’s RCV Act suffers from imperfections that give rise to certain
concerns, he does not dispute that there are legitimate policy grounds for states to explore
alternatives to the default plurality approach.

10The Voting Rights Act prohibits the abridgement of a citizen’s right to vote “on account of race
or color.” 52 U.S.C. § 10301(a). “The Voting Rights Act was aimed at the subtle, as well as the
obvious, state regulations which have the effect of denying citizens their right to vote because of
their race.” Allen v. State Bd. of Elections, 393 U.S. 544, 565 (1969). Although Plaintiffs maintain
that “this case involves heretofore unraised … Voting Rights Act-based challenges that have
arisen out of the present election and need immediate resolution” (Complaint ¶ 3), they have not
(continued next page)
                                                12
Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 13 of 16                           PageID #: 182



reasons already outlined, Plaintiffs have not demonstrated that the RCV Act, or

Defendant’s implementation of the RCV Act, are infected with discriminatory

intent.      Abbott v. Perez, 138 S. Ct. 2305, 2324, 201 L. Ed. 2d 714 (2018)

(“Whenever a challenger claims that a state law was enacted with discriminatory

intent, the burden of proof lies with the challenger, not the State.”).

        4.      Remedy

        Perhaps the weakest link in Plaintiffs’ presentation concerns the issue of

remedy. Simply stated, Plaintiffs have not provided the Court with any reasoned

argumentation, supported by citation to authority, on the specific topic of why

the remedy they propose is the remedy they are entitled to. 11 That shortcoming

in their presentation, in my view, precludes the extraordinary remedy of a TRO,

even if they have demonstrated a likelihood of success on the merits of one or

more constitutional challenge. Water Keeper All. v. U.S. Dep’t of Def., 271 F.3d

21, 28 n.5 (1st Cir. 2001) (citing United States v. Zannino, 895 F.2d 1, 17 (1st

Cir.1990) (“issues adverted to in a perfunctory manner, unaccompanied by some



explained why the Court would apply the Voting Rights Act under the circumstances alleged.
However, assuming Plaintiffs have standing under the Voting Rights Act, what they have cited is
52 U.S.C. § 10307, which provides that “[n]o person acting under color of law shall fail or refuse
to permit any person to vote who is entitled to vote under any provision of chapters 103 to 107
of this title or is otherwise qualified to vote, or willfully fail or refuse to tabulate, count, and report
such person's vote.” (Complaint ¶ 51.) The facts, as alleged, do not involve any effort by
Defendant or anyone else invested with state-delegated authority to deny Plaintiffs their right to
vote or refuse to tabulate their vote.

11 The most Plaintiffs have indicated is that they “think,” if the RCV Act is invalidated, that it
would be appropriate to apply the “default” plurality standard to determine the winner of the
election. They have not, however, cited any authority for that proposition. Moreover, the
argument sounds more like a legal rule than a rule of equity. In terms of an argument that could
potentially sound in equity, Plaintiffs have argued that it is acceptable to disregard the ranked
choices of Bond and Hoar voters because they acted in a strategic manner that, according to
Plaintiffs, strayed out of the bounds sanctioned by the Constitution. I am not persuasded that I
can differentiate between Plaintiffs and other voters on “strategic” grounds.
(continued next page)
                                                    13
Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 14 of 16                     PageID #: 183



effort at developed argumentation, are deemed waived”)). 12

B.      Potential for irreparable harm

        Plaintiffs argue that they will experience irreparable harm if the RCV ballot

counting process continues while this Court proceeds with the matter of

Plaintiffs motion for preliminary injunction. The contention, however, is that the

injury is established because they have demonstrated a constitutional violation.

(Motion for Preliminary Injunction at 18.) For the reasons already outlined, I

conclude that irreparable harm has not been demonstrated at this juncture.

C.      Balance of Relevant Impositions

        Plaintiffs argue that “[t]he balance of equities tilts strongly in favor of the

Plaintiffs because ‘issuing an injunction will burden the defendant[] less than

denying an injunction would burden the plaintiffs.’” (Id. at 19, quoting Boston

Duck Tours, LP v. Super Duck Tours, LLC, 531 F.3d 1, 11 (1st Cir. 2008)). In

opposition, Defendant asserted orally that there is an appreciable administrative

duty that needs to be addressed, without incurring unnecessary costs, as the

deadline for final tabulation is November 26, 2018. In Defendants’ view, a TRO

not only would disrupt the process in the absence of any showing of a




12 The Court is also concerned with the doctrine of laches. “‘Doctrine of laches,’ is based upon

[the] maxim that equity aids the vigilant and not those who slumber on their rights. It is defined
as neglect to assert a right or claim which, taken together with lapse of time and other
circumstances causing prejudice to the adverse party, operates as bar in court of equity.” State
of Kansas v. State of Colorado, 514 U.S. 673, 687 (1995) (quoting Black's Law Dictionary 875
(6th ed. 1990)). Plaintiffs evidently appreciate that laches could be relevant to their action.
Plaintiffs maintain that they would have lacked standing or did not have a live case or controversy
prior to the first round of ranked choice ballot counting. Plaintiffs have not briefed the
contention, however, and the Court is not prepared at this time to assess Article III ripeness
considerations, for purposes of assessing laches. Ultimately, it may prove unnecessary to reach
the issue, if Plaintiffs cannot demonstrate that their claims have merit.
(continued next page)
                                                14
Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 15 of 16                   PageID #: 184



constitutional violation, but would also prevent the creation of a complete record

for this Court to consider in the context of Plaintiff’s motion for preliminary

injunction and/or merits briefing. 13

       I am not persuaded that the balance tips in favor of Plaintiffs. Indeed,

assuming for the sake of argument that Plaintiffs’ claims have merit, it appears

that any potential remedy would require the application of equitable doctrines

and principles. Conceivably, the application of those doctrines and principles

may be informed by the final tabulation of votes.

D.     The Public’s Interest

       Plaintiffs’ argument as to this final factor is more of the same. For the

reasons set forth above, I am not persuaded that an order enjoining a final

tabulation pending resolution of the motion for preliminary injunction would

serve the public’s interest. Even if I concluded that Plaintiffs had demonstrated

a likelihood of success, I would be inclined to deny the request for a restraining

order because I am not persuaded that the public is not entitled to know the

result of the election conducted pursuant to the RCV system, particularly where

Plaintiffs have not developed their claim as to the appropriate remedy.

                                       CONCLUSION

       In denying Plaintiffs’ motion for temporary restraining order, I do not

discount the sincerity of their complaints regarding the RCV system. The remedy

in a democracy, when no constitutional infirmity appears likely, is to exercise


13 On the morning of the hearing, Defendants filed the Declaration of Deputy Secretary of State
Julie L. Flynn (ECF No. 24). While the declaration is informative and helpful, the declaration is
not necessary to overcome Plaintiffs’ motion for temporary restraining order and, consequently,
I have not summarized its content here.
                                               15
Case 1:18-cv-00465-LEW Document 26 Filed 11/15/18 Page 16 of 16       PageID #: 185



the protected rights of speech and association granted by the First Amendment

to persuade one’s fellow citizens of the correctness of one’s position and to

petition the political branch to change the law.    As it stands, the citizens of

Maine have rejected the policy arguments Plaintiffs advance against RCV. Maine

voters cast their ballots in reliance on the RCV system. For the reasons indicated

above, I am not persuaded that the United States Constitution compels the Court

to interfere with this most sacred expression of democratic will by enjoining the

ballot-counting process and declaring Representative Poliquin the victor.

      Plaintiffs’ motion for temporary restraining order is denied.

      SO ORDERED.

      DATED THIS 15TH DAY OF NOVEMBER, 2018


                                             /S/LANCE E. WALKER
                                             LANCE E. WALKER
                                             UNITED STATES DISTRICT JUDGE




                                        16
